Case
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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       NEW ALBANY DIVISION



   UNITED STATES OF AMERICA,                               )
                                                           )
           Plaintiff,                                      )
                                                           )
                    v.                                     )
                                                           )
   WAYNE JOHN KOMSI, III,                                  ) CAUSE NO. 4:18-cr-00013-TWP-VTW
                                                           )
           Defendant,                                      )

                                                      ORDER

           This matter comes before the Court on the Government=s Motion to Dismiss

   Superseding Indictment. Upon consideration of the same, the Court denies the Motion as

   moot, because the Court has already dismissed Superseding Indictment, at docket 75. See Dkt.

   159.

           So ORDERED.



      Date: 10/7/2020                                        ________________________
                                                             Hon. Tanya Walton Pratt, Judge
                                                             United States District Court
                                                             Southern District of Indiana

   Distribution to all registered counsel via electronic notification.
